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                        NOTICE TO COUNSEL
     SCHEDULING AND DISCOVERY POLICY OF JUDGE GENE E.K. PRATTER


        l. An Initial Pretrial Conference as described in Fed. R. Civ. P. l6(a), (b) and (c) generally

will be held in Chambers approximately 90 days after an action is filed, or shortly after a case is

reassigned to Judge Pratter’s calendar.

        2. Motions to dismiss, transfer, add parties and other threshold motions should be filed,

whenever possible, before the Initial Conference. At the very least, plans for such developments

should be highlighted. The prospect of motions for summary judgment should be noted at the

Conference.

        3. The Conference will last approximately thirty (30) minutes. If it is truly impossible

for lead trial counsel or adequately-prepared substitute counsel to attend the Conference, counsel

should very promptly contact the Court in writing (with copy to all other counsel) and the Court

will determine whether the Conference will be rescheduled to permit in-person attendance by a

knowledgeable professional. In a complex case, trial counsel must be present.

        4. At the Conference the following matters, among others, will be considered and acted

upon:

               A. Jurisdictional defects, if any;

               B. Time limits to join other parties and to amend pleadings;

               C. Prospects of amicable settlement;

               D. Establishing schedules for remaining pretrial proceedings, including

discovery, pretrial filings, exchange of exhibits, exchange of expert reports, etc. and,

               E. Setting a date for trial.
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        5. Subsequent conferences may be requested by counsel for exploration of settlement or

for trial management or preparation purposes. Conferences of this type, either in-person or by

telephone, are encouraged, provided counsel believe they will be useful.

        6. In an uncomplicated case, all discovery should be completed within l20 days after

appearances have been filed for all defendants. The date for completing discovery will be set at

the Initial Pretrial Conference. In more complex cases, at the Conference counsel will be

directed to file a joint discovery schedule setting forth the dates, time intervals and subjects of

discovery to be completed by the deadline.

        7. The discovery deadline means that all reasonably foreseeable discovery must be

served, noticed and completed by that date. Discovery may take place thereafter only by

agreement of the parties, so long as the trial will not be delayed and trial preparation will not

unreasonably be disrupted; provided, however, that the Court will not entertain motions to

compel discovery after the deadline date for the failure to timely serve the discovery or file such

motion before the deadline (absent a showing of good cause).

        8. When timely or necessary discovery is not forthcoming after a reasonable attempt has

been made to obtain it, the immediate assistance of the Court should be sought. See Local Rule

24(f) & (g). Counsel should review Judge Pratter’s Practices and Procedures, which can be

found on the Court’s website for further explanation of the Judge’s requirements with regard to

discovery disputes. Discovery disputes requiring the Court’s attention should be presented by

motion, without lengthy recitation of extraneous information. The Court encourages the

resolution of discovery disputes by telephone conference, and discovery motions may be

disposed of promptly by a telephone conference in lieu of the usual motion practice even before a

response is filed.
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       9. Requests for extension of discovery deadlines, trial dates, or trial pool entry dates can

be made by letter, stating the reasons and noting the agreement or disagreement of all other

counsel, or by telephone conference with all counsel participating. Lengthy, i.e., more than two

or three weeks extensions are not likely to be granted, absent exceptional circumstances. Do not

ask for repetitive extensions without having very compelling reasons.

       l0. The filing of a Pretrial Memorandum described in Local Rule 16.1(c) will be

required. The requirements of Local Rule 16.1(d) will only be utilized when specially ordered by

the Court.

       11. After Arbitration, requests for trial de novo will result in the case being set for trial or

placed in the trial pool promptly. No discovery will be allowed after the Arbitration except by

order of the Court upon good cause shown as to why the discovery requested could not have been

reasonably anticipated and completed prior to the Arbitration.

       l2. Unexcused violations of scheduling orders are subject to sanctions under Fed. R. Civ.

P. l6(f), upon motion or the initiative of the Court.

       l3. Letters or other written communications about any pending matter (which are

discouraged) are to be directed to the Court and not to law clerks or to the Deputy Clerk. Letters

on other than ministerial (“housekeeping”) matters are strongly discouraged. Telephone calls

directly to law clerks also are discouraged, unless expressly authorized or requested.. Law clerks

are not permitted to render advice to counsel and have no authority to grant continuances or to

speak on behalf of the Court. All scheduling matters for civil cases should be directed to Rose

Barber, Deputy Clerk, 267-299-7352.

       14. Counsel are expected to review the Court’s General Pretrial and Trial Policies and

Procedures available at http://www.paed.uscourts.gov or by specific request directed to Ms.
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Barber.
